     Case 2:90-cv-00520-KJM-SCR Document 8381 Filed 08/29/24 Page 1 of 17


 1      DONALD SPECTER – 083925                       MICHAEL W. BIEN – 096891
        STEVEN FAMA – 099641                          ERNEST GALVAN – 196065
 2      MARGOT MENDELSON – 268583                     LISA ELLS – 243657
        PRISON LAW OFFICE                             JENNY S. YELIN – 273601
 3      1917 Fifth Street                             THOMAS NOLAN – 169692
        Berkeley, California 94710-1916               MICHAEL S. NUNEZ – 280535
 4      Telephone: (510) 280-2621                     MARC J. SHINN-KRANTZ – 312968
                                                      ALEXANDER GOURSE – 321631
 5      CLAUDIA CENTER – 158255                       BENJAMIN W. HOLSTON – 341439
        DISABILITY RIGHTS EDUCATION                   MAYA E. CAMPBELL – 345180
 6      AND DEFENSE FUND, INC.                        LUMA KHABBAZ – 351492
        Ed Roberts Campus                             JARED MILLER – 353641
 7      3075 Adeline Street, Suite 210                ROSEN BIEN
        Berkeley, California 94703-2578               GALVAN & GRUNFELD LLP
 8      Telephone: (510) 644-2555                     101 Mission Street, Sixth Floor
                                                      San Francisco, California 94105-1738
 9                                                    Telephone: (415) 433-6830
      Attorneys for Plaintiffs
10
11                                     UNITED STATES DISTRICT COURT
12                                     EASTERN DISTRICT OF CALIFORNIA
13
14 RALPH COLEMAN, et al.,                             Case No. 2:90−CV−00520−KJM−SCR
15                       Plaintiffs,                  JOINT SUBMISSION OF PLAN FOR
                                                      EXPENDITURE OF STAFFING
16                  v.                                CONTEMPT FINES AND ORDER
17 GAVIN NEWSOM, et al.,                              Judge: Hon. Kimberly J. Mueller
18                       Defendants.
19
20
21
22
23
24
25
26
27
28
      [4547056.9]

            JOINT SUBMISSION OF PLAN FOR EXPENDITURE OF STAFFING CONTEMPT FINES AND ORDER
     Case 2:90-cv-00520-KJM-SCR Document 8381 Filed 08/29/24 Page 2 of 17


 1                                              INTRODUCTION
 2                  On June 25, 2024, the Court found Defendants in contempt of the court’s orders to
 3 come into full compliance with Defendants’ 2009 Staffing Plan and ordered Defendants to
 4 pay all fines that had accumulated since April 1, 2023. See June 25, 2024 Order, ECF No.
 5 8291. As of Defendants’ July 2024 Staffing Vacancy Report, that figure stood at
 6 $131,050,237.00. See ECF No. 8345 at 23 (listing total accumulated fines at
 7 $144,710,156.00 as of June 30, 2024); ECF No. 8291 at 4 n.3 (calculating imposed fines as
 8 total accumulated minus $13,659,919.00 in fines that accumulated in February and March
 9 2023). On July 12, 2024, the Court ordered the parties to meet and confer under the
10 supervision of the Special Master and then “submit to the court a written plan for
11 expenditure of accumulated fines … to remedy ongoing mental health understaffing in the
12 CDCR units covered by the 2009 staffing plan” within thirty days. July 12, 2024 Order,
13 ECF No. 8330. The parties requested an extension of that deadline, which the Court
14 granted, to August 23, 2024. Aug. 9, 2024 Order, ECF No. 8354.
15                  The parties and the Special Master have now met several times to discuss the
16 expenditure plan. Plaintiffs’ counsel made a proposal at the beginning of the meet-and-
17 confer process that included a menu of ideas for improving recruitment and retention,
18 based largely on evidence from the 2023 contempt trial and insight from additional sources
19 with relevant expertise. During the course of the subsequent meet-and-confer process, the
20 parties and the Special Master team discussed and refined those proposals, and Defendants
21 provided critical input, including information about administrative and logistical
22 challenges and past experience. The parties’ resulting plan is attached as Exhibit A.
23                  The proposed plan consists of multiple efforts on two general timelines:
24 (1) Immediate expenditures (90 days following lifting of stay and approval), including
25 staff and referral bonuses, funds to improve working conditions and purchase mental-
26 health-related supplies, the hiring of a third-party recruitment firm to expand and
27 streamline CDCR’s hiring capabilities, and the hiring of a third-party consulting firm to
28 further identify the most effective measures to improve hiring and retention rates; and
      [4547056.9]
                                                          1
            JOINT SUBMISSION OF PLAN FOR EXPENDITURE OF STAFFING CONTEMPT FINES AND ORDER
     Case 2:90-cv-00520-KJM-SCR Document 8381 Filed 08/29/24 Page 3 of 17


 1 (2) longer-term (6-12 months after deposit of funds) expenditures, including the potential
 2 implementation of consultant recommendations as well as the development and
 3 implementation of a hybrid work policy for mental health staff. The plan will disperse
 4 significant funds quickly but also reserve additional amounts to fund alternative and
 5 additional measures the parties may propose for the court’s approval at a later date if the
 6 fill rates do not sufficiently increase in response to these measures.
 7                  The Special Master and his team participated in and commented on the
 8 development of the attached plan and support its implementation. A representative from
 9 the Department of State Hospitals (DSH) was also present during the meet-and-confer
10 process. The plan includes provisions to minimize migration from DSH to CDCR
11 facilities, and both parties agree that it will be necessary to closely monitor staffing issues
12 at DSH going forward.
13                  The Court’s July 12, 2024 order also directed the plan to include “requests for any
14 necessary waivers of state law.” ECF No. 8330 at 16. If the plan were to be implemented,
15 the waiver of several statutes and regulations related to the provision of additional
16 compensation outside of the collective bargaining process would be necessary, similar to
17 the waiver of state laws ordered in 2006 by this Court. See Dec. 15, 2006 Order, ECF No.
18 2083. These laws are detailed below. There are additional state laws related to the state
19 contracting and procurement process that would have to be waived in order to allow for the
20 rapid hiring of the third-party contractors described in the attached plan. However, the
21 parties require additional time to determine exactly what statutes and regulations bar an
22 expedited contracting process and request that they be able to move the Court to waive
23 these provisions in a subsequent filing if they determine such waivers are necessary to
24 implement the proposed plan.
25                  Defendants also have identified legal and logistical issues connected to a state
26 agency administering funds that have been deposited with the Court and then transferred
27 back to that agency for the purpose of making expenditures. As Defendants have
28 previously informed the court, the Legislature made an appropriation for the fines in the
      [4547056.9]
                                                           2
            JOINT SUBMISSION OF PLAN FOR EXPENDITURE OF STAFFING CONTEMPT FINES AND ORDER
     Case 2:90-cv-00520-KJM-SCR Document 8381 Filed 08/29/24 Page 4 of 17


 1 2024 Budget Act and Defendants are able to deposit those funds with the Court if the stay
 2 of the Court’s June 25 and 27, 2024 orders is lifted. See Defs.’ Mot. Stay, ECF No. 8308
 3 at 12. However, once that deposit is made with the Court, the process by which the Court
 4 might transfer funds back to the State Controller’s Office, and then for CDCR to receive
 5 and be authorized to use those funds, is legally uncertain and requires more time to
 6 examine. Moreover, CDCR’s use of any funds deposited with the Court and then
 7 transferred back to the State via the State Controller’s Office will also be logistically
 8 complicated and time consuming. Defendants therefore request that they be able to consult
 9 further with the Special Master and Plaintiffs regarding these issues, including discussing
10 alternative methods of administering the court-adopted plan with the allocated funding that
11 does not require first depositing the funds with the Court. The parties will provide
12 additional information and requests for more specific orders regarding these logistical
13 issues, if necessary, to the Court after those additional discussions.
14                                          STATE LAW WAIVERS
15                  In October of 2006, the Plata Court granted the Receiver’s request to waive several
16 state laws in order to allow the Receiver to institute salary increases across several
17 classifications outside of the normal collective bargaining process. See ECF No. 8020-3
18 (Order Re: Receiver’s Motion for A Waiver of State Law, filed October 17, 2006, at ECF
19 No. 554 in Plata v. Newsom, 01-CV-013351-JST (N.D. Cal.)). These included
20 Government Code Sections 19816, 19826, 19829, 19832, 19836, 3516.5, and 3517, as well
21 as Section 599.681 of Title 2 of the California Code of Regulations. Id. at 7-8. In
22 December of 2006, this Court granted the Special Master’s request to waive the same laws
23 in this case, in order to increase salaries for several mental health classifications. Dec. 15,
24 2006 Order, ECF No. 2083; Exhibit T to Special Master’s 16th Round Monitoring Report,
25 ECF No. 2081-11 at 9-14. Those laws have not substantively changed since 2006, with the
26 exception of Section 19816, which vested the Department of Personnel Administration
27 with all duties and powers with respect to the administration of salaries for civil service
28 and exempt employees and was replaced in 2011 by Section 19815.2, creating the
      [4547056.9]
                                                         3
            JOINT SUBMISSION OF PLAN FOR EXPENDITURE OF STAFFING CONTEMPT FINES AND ORDER
     Case 2:90-cv-00520-KJM-SCR Document 8381 Filed 08/29/24 Page 5 of 17


 1 Department of Human Resources (CalHR) and vesting CalHR with those duties and
 2 powers instead. There is an additional law, Government Code Section 19837, that governs
 3 the payment of salary to a civil service employee above the maximum rate permitted for
 4 their class, which was not waived in 2006 in Plata or by this Court but should be waived in
 5 order to allow for the attached plan to proceed. Accordingly, all of the laws waived in
 6 2006, in addition to Section 19837, would need to be waived in order to increase
 7 compensation for civil service employees outside of the collective bargaining process, as
 8 provided for in the attached plan. Specifically, the requested laws are:
 9                        Government Code Sections 19815.2, 19826, 19829, 19832, 19836, 19837,
10                         3516.5, and 3517; and
11                        Title 2, Section 599.681 of the California Code of Regulations.
12                  As noted above, the waiver of additional laws related to the state contracting and
13 procurement process, in addition to laws related to CDCR’s administration of funds that
14 have not been budgetarily allocated, may be necessary.
15                                DEFENDANTS’ SEPARATE STATEMENT
16                  On June 25, 2024, the Court issued a ruling holding certain Defendants in contempt
17 for Defendants’ inability to comply with Court ordered staffing requirements and imposed
18 fines totaling approximately $120,000,000, with ongoing fines accruing on a monthly
19 basis. (ECF No. 8330 at 15.) Defendants immediately appealed that ruling to the Ninth
20 Circuit and on July 1, 2024, filed a motion to stay the Court’s June 25 and 27 Orders
21 pending appeal. (ECF No. 8310.) On July 24, 2024, the Court denied Defendants’ motion
22 to stay the orders pending appeal. (ECF No. 8339.)
23                  On July 8, 2024, Defendants filed a motion to stay the June 25 and 27 orders in the
24 Ninth Circuit. That motion is fully briefed and pending before the Ninth Circuit. On July
25 26, 2024, the Ninth Circuit administratively stayed the June 25 and 27 orders pending its
26 ruling on Defendants’ motion to stay the orders pending appeal. (ECF No. 8341.)
27                  On July 12, 2024, the Court ordered the parties to meet and confer under the
28 supervision of the Special Master and then “submit to the court a written plan for
      [4547056.9]
                                                          4
            JOINT SUBMISSION OF PLAN FOR EXPENDITURE OF STAFFING CONTEMPT FINES AND ORDER
     Case 2:90-cv-00520-KJM-SCR Document 8381 Filed 08/29/24 Page 6 of 17


 1 expenditure of accumulated fines . . . to remedy ongoing mental health understaffing in the
 2 CDCR units covered by the 2009 staffing plan” within thirty days. (ECF No. 8330.)
 3 Defendants have complied with this order by working with Plaintiffs and the Special
 4 Master to develop the attached plan for the expenditure of fines, including by running cost
 5 estimates on various possible uses identified by Plaintiffs across multiple scenarios and
 6 providing feedback on implementation and administrability issues around certain proposed
 7 uses.
 8                  Defendants intend to present an argument to the Ninth Circuit that the Court erred
 9 in its rulings and orders regarding contempt and fines. Thus, the submission of this plan
10 does not constitute waiver of any issue previously raised before this Court and which may
11 be raised in the Ninth Circuit. Additionally, Defendants recognize that their currently
12 pending motion to stay the Order may be denied without prejudice or on the basis that the
13 mere depositing of fines does not constitute irreparable injury. Defendants do not believe
14 that their rights can or should be compromised by their good-faith compliance with this
15 Court’s order to develop a plan for expending fines while their request for a stay of the
16 underlying order imposing the fines remains pending. Accordingly, Defendants also
17 reserve the right to seek relief from any order of this Court implementing the proposed
18 plan or otherwise directing the expenditure of fines accrued if Defendants’ currently
19 pending stay request is denied on the grounds noted above.
20                                  PLAINTIFFS’ SEPARATE STATEMENT
21                  Plaintiffs appreciate Defendants’ active participation in the process of developing
22 this plan, including their responses to Plaintiffs’ proposals and their proffering of various
23 counter-proposals. Defendants have appeared to participate in the court-ordered process in
24 good faith, and have represented to Plaintiffs and the Special Master that they do not object
25 to the plan submitted here as Exhibit A. Plaintiffs expect that if the Ninth Circuit lifts the
26 current administrative stay of the Court’s June 25 and June 27 orders and does not issue a
27 stay pending appeal, Defendants will comply with the Court’s orders and their existing
28 legal obligations to fully implement the plan adopted by the Court without delay.
      [4547056.9]
                                                          5
            JOINT SUBMISSION OF PLAN FOR EXPENDITURE OF STAFFING CONTEMPT FINES AND ORDER
     Case 2:90-cv-00520-KJM-SCR Document 8381 Filed 08/29/24 Page 7 of 17


 1                                                CONCLUSION
 2                  The parties jointly submit the attached plan pursuant to the Court’s July 12, 2024
 3 Order, ECF No. 8330. If the plan is implemented, Government Code Sections 19815.2,
 4 19826, 19829, 19832, 19836, 19837, 3516.5, and 3517, and Title 2, Section 599.681 of the
 5 California Code of Regulations would have to be waived, for the sole purpose of
 6 instituting the provision of this plan. Lastly, if the plan is approved for implementation,
 7 the parties request additional time to discuss and potentially submit additional information
 8 and requests regarding the implementation of the plan.
 9                                              CERTIFICATION
10                  Plaintiffs’ counsel and Defendants’ counsel certify that they reviewed the following
11 orders in preparing this filing: ECF Nos. 2083, 8291, 8299, 8313, 8329, 8330, 8339, 8340,
12 8351, 8354.
13
14                                                  Respectfully submitted,
15 DATED: August 23, 2024                           ROSEN BIEN GALVAN & GRUNFELD LLP
16                                                  By: /s/ Jared Miller
17                                                      Jared Miller
18                                                  Attorneys for Plaintiffs
19
20
21
22
23
24
25
26
27
28
      [4547056.9]
                                                          6
            JOINT SUBMISSION OF PLAN FOR EXPENDITURE OF STAFFING CONTEMPT FINES AND ORDER
     Case 2:90-cv-00520-KJM-SCR Document 8381 Filed 08/29/24 Page 8 of 17


 1 DATED: August 23, 2024                          ROB BONTA
                                                   Attorney General of California
 2                                                 Damon G. McClain
 3                                                 Supervising Deputy Attorney General

 4                                                 By: /s/ Damon McClain
 5                                                     Damon McClain
                                                       Deputy Attorney General
 6
 7 DATED: August 23, 2024                          HANSON BRIDGETT LLP
 8                                                 By: /s/ Paul B. Mello
 9                                                     Paul B. Mello

10                                                 Attorneys for Defendants
11
12                                                    ORDER
13                  The parties’ “Plan for the Expenditure of Staffing Contempt Fines” (hereafter Plan)
14 is approved, and Defendants are ordered to implement the plan as written. By September
15 6, 2024 at 12 noon, defendants shall deposit into the Court’s Registry all fines that have
16 accumulated since April 1, 2023 as the court previously has ordered, see June 25, 2024
17 Order, ECF No. 8291, unless before September 6, 2024 at 12 noon the parties propose and
18 the court approves specific orders putting in place an alternative method of administering
19 the Plan with the full amount of the allocated funding that does not require first depositing
20 the funds with the Court.
21                  Government Code Sections 19815.2, 19826, 19829, 19832, 19836, 19837, 3516.5,
22 and 3517, and Title 2, Section 599.681 of the California Code of Regulations are waived
23 for the sole purpose of implementing the provisions of this plan.
24                  IT IS SO ORDERED.
25 DATED: August 29, 2024.
26
27
28
      [4547056.9]
                                                         7
            JOINT SUBMISSION OF PLAN FOR EXPENDITURE OF STAFFING CONTEMPT FINES AND ORDER
     Case 2:90-cv-00520-KJM-SCR Document 8381 Filed 08/29/24 Page 9 of 17


 1                                               EXHIBIT A
 2                  PLAN FOR THE EXPENDITURE OF STAFFING CONTEMPT FINES
 3 I.               Immediate Expenditures
 4                  A.   One-time Retention and Recruitment bonuses
 5                            Description:
 6                                  Bonuses of $10,000 to current CDCR staff in all classifications
 7                                   covered by the 2009 staffing plan (“the five classifications”
 8                                   (psychiatrists, psychologists, social workers, recreational
 9                                   therapists, and medical assistants)), including mental health
10                                   clinical executives (i.e., chief, supervising, and senior
11                                   positions) as well as staff in the same classifications working in
12                                   the Psychiatric Inpatient Programs (PIPs).
13                                  Bonuses of $10,000 to new hires in the five classifications,
14                                   including mental health clinical executives and those working
15                                   in the PIPs, who start while this provision is in effect, but only
16                                   to the extent the new hires come from outside CDCR and DSH.
17                            Timeline for Implementation:
18                                  Implementation of this provision will commence immediately
19                                   once any stay of the June 25 and 27, 2024 orders is lifted, and
20                                   the Court has approved this plan for expenditure of fines.
21                                  This bonus provision will be in effect for one year.
22                                  For existing staff, bonuses are paid in one lump sum at 90 days
23                                   after the later of the lifting of any stay of the June 25 and June
24                                   27, 2024 orders (“stay lift date” and the date the Court
25                                   approves the plan for expenditure of fines (“court approval
26                                   date”).
27                                  For new staff, bonuses are paid at six months following a staff
28                                   member’s start date.
      [4547056.9]
                                                       8
            JOINT SUBMISSION OF PLAN FOR EXPENDITURE OF STAFFING CONTEMPT FINES AND ORDER
     Case 2:90-cv-00520-KJM-SCR Document 8381 Filed 08/29/24 Page 10 of 17


 1                                 Defendants will take all steps necessary to ensure the timeline
 2                                  for implementation is met. However, because implementation
 3                                  also involves entities that are not parties to the litigation,
 4                                  Defendants cannot represent that every individual who is
 5                                  eligible to receive a bonus will be paid within the timeframe
 6                                  provided. Defendants will provide periodic updates to
 7                                  Plaintiffs and the Special Master on the status of bonus
 8                                  payments.
 9                           Cost Estimates:
10                                 Currently-filled positions: $14,009,000
11                                 Currently-vacant positions: $8,736,000
12                  B.   Monthly bonuses to augment take-home pay
13                           Description:
14                                 $20,000 bonuses for all current psychologists and social
15                                  workers, including Chief Psychologists, Senior and
16                                  Supervising Psychologists, and Supervising Social Workers,
17                                  and including mental health clinical executives and staff in the
18                                  same classifications working in the PIPs. This bonus will also
19                                  be provided to new hires who start when this provision is in
20                                  effect, but only to the extent the new hires come from outside
21                                  CDCR and DSH. This bonus is to be divided into twelve equal
22                                  payments of $1666.67 and paid on a monthly basis for a period
23                                  of one year.
24                                 $5,000 bonuses for all current psychiatrists, recreational
25                                  therapists, and medical assistants, including Chief and Senior
26                                  Psychiatrists, as well as all psychiatrists, recreational
27                                  therapists, and medical assistants working in the PIPs. This
28                                  bonus will also be provided to new hires who start when this
      [4547056.9]
                                                       9
            JOINT SUBMISSION OF PLAN FOR EXPENDITURE OF STAFFING CONTEMPT FINES AND ORDER
     Case 2:90-cv-00520-KJM-SCR Document 8381 Filed 08/29/24 Page 11 of 17


 1                                provision is in effect, but only to the extent the new hires come
 2                                from outside CDCR and DSH. This bonus is to be divided into
 3                                twelve equal payments of $416.67 and paid on a monthly basis
 4                                for a period of one year.
 5                        Timeline for Implementation:
 6                               Implementation of this provision will commence immediately
 7                                once any stay of the June 25 and 27, 2024 orders is lifted, and
 8                                the Court has approved this plan for expenditure of fines.
 9                               This bonus provision will be in effect for one year.
10                               For existing staff, bonuses will begin at 90 days after the later
11                                of the stay lift date and the court approval date.
12                               For new staff, bonuses will be available at 90 days after the
13                                later of the stay lift date and the court approval date, and will
14                                commence on that date or the first pay period following the
15                                employee’s start date, whichever is later.
16                               Defendants will take all steps necessary to ensure the timeline
17                                for implementation is met. However, because implementation
18                                also involves entities that are not parties to the litigation,
19                                Defendants cannot represent that every individual who is
20                                eligible to receive a bonus will be paid within the timeframe
21                                provided. Defendants will provide periodic updates to
22                                Plaintiffs and the Special Master on the status of bonus
23                                payments.
24                        Cost Estimates:
25                               Currently-filled positions: $19,961,104
26                               Currently-vacant positions: $13,824,494
27
28
      [4547056.9]
                                                    10
            JOINT SUBMISSION OF PLAN FOR EXPENDITURE OF STAFFING CONTEMPT FINES AND ORDER
     Case 2:90-cv-00520-KJM-SCR Document 8381 Filed 08/29/24 Page 12 of 17


 1                  C.   Institution-Specific Funds for Supplies and Working Conditions
 2                            Description:
 3                                  One-time estimated $50,000 payments (twice per year) to all
 4                                   prisons with mental health programs to purchase supplies (e.g.,
 5                                   materials for group and recreational therapy); the exact amount
 6                                   may be adjusted in consideration of the size of an institution’s
 7                                   mental health program.
 8                                  One-time estimated $100,000 payments to all CCCMS
 9                                   programs to improve working conditions (e.g., furniture,
10                                   improvements to treatment and office spaces); the exact
11                                   amount may be adjusted in consideration of the size of an
12                                   institution’s mental health program.
13                                  One-time estimated $200,000 payments to all EOP programs to
14                                   improve working conditions (e.g., furniture, improvements to
15                                   treatment and office spaces); the exact amount may be adjusted
16                                   in consideration of the size of an institution’s mental health
17                                   program.
18                                  One-time estimated $300,000 payments to all PIP programs to
19                                   improve working conditions (e.g., furniture, improvements to
20                                   treatment and office spaces); the exact amount may be adjusted
21                                   in consideration of the size of an institution’s mental health
22                                   program.
23                            Timeline for Implementation:
24                                  Implementation of this provision will commence immediately
25                                   once any stay of the June 25 and 27, 2024 orders is lifted, and
26                                   the Court has approved this plan for expenditure of fines.
27                                  Defendants will prepare a draft policy regarding the
28                                   appropriate use of these funds by the institutions, on which
      [4547056.9]
                                                      11
            JOINT SUBMISSION OF PLAN FOR EXPENDITURE OF STAFFING CONTEMPT FINES AND ORDER
     Case 2:90-cv-00520-KJM-SCR Document 8381 Filed 08/29/24 Page 13 of 17


 1                                   Plaintiffs and the Special Master will then comment. The plan
 2                                   shall be finalized and disseminated to institutional leadership
 3                                   within 60 days after the later of the stay lift date and the court
 4                                   approval date.
 5                                  Within 90 days of the later of the stay lift date and the court
 6                                   approval date, the funds shall be made available for
 7                                   expenditure by the receiving institutions.
 8                  D.   Referral Bonuses
 9                            Description:
10                                  $5,000 for any CDCR employee (not limited to the
11                                   classifications at issue) who refers an individual who is not a
12                                   current DSH employee and who is successfully hired by CDCR
13                                   in any one of the five classifications at issue and remains
14                                   employed for at least 90 days.
15                            Timeline for Implementation:
16                                  Implementation of this provision will commence immediately
17                                   once any stay of the June 25 and 27, 2024 orders is lifted, and
18                                   the Court has approved this plan for expenditure of fines.
19                                  This bonus provision will be in effect for one year.
20                                  The $5,000 bonus is to be paid to the referring employee the
21                                   month after the new employee has been employed with CDCR
22                                   for 90 days.
23                                  Defendants will take all steps necessary to ensure the timeline
24                                   for implementation is met. However, because implementation
25                                   also involves entities that are not parties to the litigation,
26                                   Defendants cannot represent that every individual who is
27                                   eligible to receive a bonus will be paid within the timeframe
28                                   provided. Defendants will provide periodic updates to
      [4547056.9]
                                                       12
            JOINT SUBMISSION OF PLAN FOR EXPENDITURE OF STAFFING CONTEMPT FINES AND ORDER
     Case 2:90-cv-00520-KJM-SCR Document 8381 Filed 08/29/24 Page 14 of 17


 1                                   Plaintiffs and the Special Master on the status of bonus
 2                                   payments.
 3                  E.   Hiring of Third-Party Recruitment/Hiring Contractor
 4                            Description:
 5                                  Defendants will hire a third-party head-hunting/recruitment
 6                                   firm to augment or replace CDCR’s existing processes for
 7                                   purposes of recruitment, advertising, review of applications
 8                                   and scheduling of interviews, more frequent contact with
 9                                   applicants throughout the hiring process, and improved
10                                   onboarding.
11                            Timeline for Implementation:
12                                  Implementation of this provision will commence immediately
13                                   once any stay of the June 25 and 27, 2024 orders is lifted, and
14                                   the Court has approved this plan for expenditure of fines.
15                                  Within 60 days of the later of the stay lift date and the court
16                                   approval date, Defendants will issue a Request for Proposals
17                                   (RFPs).
18                                  Within 90 days of the later of the stay lift date and the court
19                                   approval date, Defendants will select a vendor, with assistance
20                                   from the Special Master, and will submit the vendor for
21                                   approval by the Court.
22                                  Within 120 days of the later of the stay lift date and the court
23                                   approval date, Defendants will sign a contract with vendor
24                  F.   Hiring of Third-Party Human Resources/Recruiting Consulting Firm
25                            Description:
26                                  The parties will hire a third-party consultant that will conduct a
27                                   root-cause analysis of CDCR’s recruitment and retention issues
28                                   and make recommendations regarding short- and long-term
      [4547056.9]
                                                      13
            JOINT SUBMISSION OF PLAN FOR EXPENDITURE OF STAFFING CONTEMPT FINES AND ORDER
     Case 2:90-cv-00520-KJM-SCR Document 8381 Filed 08/29/24 Page 15 of 17


 1                                    strategies to address those issues. This would include the
 2                                    development of a compensation strategy, identification of
 3                                    weaknesses in CDCR’s recruitment and HR process,
 4                                    determination of ways to improve CDCR’s culture and morale,
 5                                    and creation of mechanisms for the creation and tracking of
 6                                    data to ensure that strategies are adjusted when necessary. This
 7                                    may or may not be the same contractor selected pursuant to
 8                                    Section E above.
 9                             Timeline for Implementation:
10                                   Implementation of this provision will commence immediately
11                                    once any stay of the June 25 and 27, 2024 orders is lifted, and
12                                    the Court has approved this plan for expenditure of fines.
13                                   Within 60 days of the later of the stay lift date and the court
14                                    approval date, Defendants will issue a Request for Proposals
15                                    (RFPs).
16                                   Within 90 days of the later of the stay lift date and the court
17                                    approval date, Defendants will select a vendor, with the
18                                    assistance of the Special Master, and submit the vendor for
19                                    approval by the Court.
20                                   Within 120 days of the later of the stay lift date and the court
21                                    approval date, Defendants will sign a contract with a vendor.
22 II.              Longer-Term Initiatives
23                  A.    Development of Hybrid Work Policy
24                             Description:
25                                   Defendants will develop a hybrid work policy that will permit
26                                    onsite mental health staff to spend a portion of their working
27                                    time off-site. Contempt fines may be used to fund costs
28                                    incurred in connection with the expansion of hybrid work,
      [4547056.9]
                                                       14
            JOINT SUBMISSION OF PLAN FOR EXPENDITURE OF STAFFING CONTEMPT FINES AND ORDER
     Case 2:90-cv-00520-KJM-SCR Document 8381 Filed 08/29/24 Page 16 of 17


 1                                  including the provision of secure web conferencing platforms,
 2                                  IP licensing, and an increase in staffing of telepresenters.
 3                           Timeline for Implementation:
 4                                 Implementation of this provision will commence immediately
 5                                  once any stay of the June 25 and 27, 2024 orders is lifted, and
 6                                  the Court has approved this plan for expenditure of fines.
 7                                 Within 60 days of the later of the stay lift date and the court
 8                                  approval date, Defendants will issue draft policy.
 9                                 Within 30 days of Defendants’ submission of a draft policy, the
10                                  parties will meet and confer with Special Master regarding the
11                                  draft policy and Defendants will issue a final policy.
12                                 Within 30 days of the issuance of the final hybrid work policy,
13                                  Defendants will implement the policy for existing employees
14                                  and update recruitment materials to offer and advertise for
15                                  hybrid-work positions.
16                  B.   Reporting Requirements and Implementation of Additional Measures,
                         Including Consultant Recommendations
17
18                           Description:
19                                 The parties will meet regularly and share information about
20                                  recruitment and retention initiatives funded by the contempt
21                                  fines as well as Defendants’ ongoing regular programs.
22                                  Beginning with the last day of the month following
23                                  implementation of the plan, and on a monthly basis thereafter,
24                                  Defendants will be obligated to provide a reporting of the
25                                  plan’s progress to the Court and the parties, including, at a
26                                  minimum, the amount of funds spent in the previous month,
27                                  and the number of job applicants, offers made, and new hires in
28                                  the previous month at each institution.
      [4547056.9]
                                                     15
            JOINT SUBMISSION OF PLAN FOR EXPENDITURE OF STAFFING CONTEMPT FINES AND ORDER
     Case 2:90-cv-00520-KJM-SCR Document 8381 Filed 08/29/24 Page 17 of 17


 1                               The parties also anticipate that the hired consultants will make
 2                                recommendations that may require the expenditure of
 3                                additional funds. No later than seven months after the
 4                                implementation of this plan, the parties will report to the court
 5                                about the need for additional initiatives funded by the contempt
 6                                fines, including but not limited to possible continuation or
 7                                increases of the bonuses detailed above.
 8                        Timeline for Implementation:
 9                               Immediate and Ongoing
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
      [4547056.9]
                                                   16
            JOINT SUBMISSION OF PLAN FOR EXPENDITURE OF STAFFING CONTEMPT FINES AND ORDER
